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17 February 2021

Adita Lynne Harless
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To Whom it May Concern,


My name is Adita Lynne Harless. I was a Counterintelligence Special Agent in the US Army, worked for
the public school system for many years, am a court-appointed Guardian Ad Litem, and just completed a
deployment to Iraq as a US intelligence contractor.

I have known Jessica Watkins for approximately ten years, when she and my oldest son became friends.
When I first met Jessica, I was immediately taken with her respectful and humble attitude. Throughout
our relationship, she has proven herself to be a person who cares deeply about other people and has
always sought opportunities to assist others in need. Her service as a firefighter is just one of many
examples of this. Jess would often put her comfort aside in favor of protecting and serving others. She
is an extremely loyal person and could never sit by and watch someone she cared about be hurt or
abused in any way, even to her own detriment. I have never known Jess to act in any self-serving
manner, and have never witnessed her having a part in any action that could be taken as vengeful or
violent. I trust Jessica Watkins, enough to have let her live in my home with my younger children
without any hesitation, and would do so again.

I believe that Jessica’s loyalty to her country and desire to serve may have allowed her to be taken
advantage of by people with an agenda that Jess was perhaps not fully cognizant of. She very much
loved serving her country, and her military days were of utmost pride for her, and it is possible that she
was drawn by the militia aspect of certain organizations. I have had many at-length discussions with
Jessica Watkins, and I know that she is not ‘anti-government’, but rather a proponent of law and order.

Please do not hesitate to contact me for any addition information.



Respectfully submitted,
 Adita     Digitally signed by
           Adita Harless

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Adita Lynne Harless
